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                               UNITED STATES DISTRICT COURT
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                             NORTHERN DISTRICT OF CALIFORNIA

                                  SAN FRANCISCO DIVISION

   SONOS, INC.,                               Case No. 3:20-cv-06754-WHA
                                            Related to Case No. 3:21-cv-07559-WHA
               Plaintiff,                     DECLARATION OF JOCELYN MA IN
                                              SUPPORT OF GOOGLE LLC’S
           vs.                                  OPPOSITION TO SONOS, INC.’S
                                              MOTION FOR INJUNCTIVE RELIEF

 GOOGLE LLC,

               Defendant.

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                                                              CASE NO. 3:20-cv-06754-WHA
                                                          DECLARATION OF JOCELYN MA
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 1          I, Jocelyn Ma, declare and state as follows:

 2          1.     I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am an associate at Quinn Emanuel Urquhart & Sullivan LLP representing

 4 Google LLC (“Google”) in this matter. I make this declaration in support of Google’s Opposition to

 5 Sonos, Inc’s Motion for Injunctive Relief (Dkt. 820). If called as a witness, I could and would testify

 6 competently to the information contained herein.

 7          2.     Below is a reproduction of Figure 13-S from the Opening Expert Report of Sonos’s

 8 damages expert, Mr. James Malackowski, which summarizes the number of units of each accused

 9 product sold from the start of the damages period through Q3 2022. As Figure 13-S shows, the total

10 number of infringing units sold in this period was 14,133,558.

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19          3.     Based on the data shown in Figure 13-S, I summed the number of Google Home Mini,
20 Google Nest Mini, Chromecast, Chromecast Audio, Chromecast + Google TV, and Chromecast with

21 Google TV (HD) devices sold during this period for a total of                    units. This constitutes
22 approximately 79% of the total infringing units sold.

23          4.     Based on the data shown in Figure 13-S, I summed the number of Chromecast,
24 Chromecast Ultra, Chromecast + Google TV, and Chromecast with Google TV (HD) devices sold

25 during this period for a total of             units. This constitutes approximately 61% of the total
26 infringing units sold. The number of other products totaled to             .
27          5.     Based on the data shown in Figure 13-S, I summed the number of Google Home Hub,
28 Google Nest Hub Max, and Google Nest Audio devices sold during this period for a total of

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 1 2,408,499. This constitutes 43.5% of the                    other devices sold that were not Chromecast,

 2 Chromecast Ultra, Chromecast + Google TV, or Chromcast with Google TV (HD) devices.

 3            6.       Attached as Exhibit 1 is a true and correct copy of an article from Geek Wire entitled

 4 “Amazon maintains big lead over Google and Apple in U.S. smart speaker market, new study says,”

 5 available at https://www.geekwire.com/2021/amazon-maintains-big-lead-google-apple-u-s-smart-

 6 speaker-market-new-study-says/.

 7            7.       Attached as Exhibit 2 is a true and correct copy of excerpts from the Rebuttal Expert

 8 Report Regarding Damages of W. Christopher Bakewell, dated January 13, 2023.

 9            8.       Attached as Exhibit 3 is a true and correct copy of an article from Forbes entitled

10 “Google's Chromecast A Brilliant Play For The Living Room -- Especially With $35 Price Tag,”

11 available at https://www.forbes.com/sites/jasonevangelho/2013/07/24/googles-chromecast-a-brilliant-

12 play-for-the-living-room-especially-with-35-price-tag/?sh=1e6f07116f13.

13            9.       Attached as Exhibit 4 is a true and correct copy of an article from Android Guys

14 entitled         “Chromecast     (2nd    gen)     review:    a    worthy     upgrade?,”     available     at

15 https://www.androidguys.com/reviews/accessory-reviews/chromecast-2nd-gen-review-a-worthy-

16 upgrade/.

17            10.      Attached as Exhibit 5 is a true and correct copy of an article from Tom’s Guide entitled

18 “Google Chromecast (3rd Generation) review,” available at https://www.tomsguide.com/us/google-

19 chromecast-3rd-generation,review-5843.html.

20            11.      Attached as Exhibit 6 is a true and correct copy of an article from PCMag entitled

21 Google Chromecast Audio Review, available at https://www.pcmag.com/reviews/google-chromecast-

22 audio.

23            12.      Attached as Exhibit 7 is a true and correct copy of an article from Make Use Of entitled

24 “Google Home Mini v. Google Nest Mini: What Are the Differences?”, available at

25 https://www.makeuseof.com/google-home-mini-nest-mini/.

26            13.      Attached as Exhibit 8 is a true and copy of an excerpt of the deposition testimony of

27 Tomer Shekel.

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                                                                          DECLARATION OF JOCELYN MA
     Case 3:20-cv-06754-WHA          Document 829-2        Filed 06/29/23      Page 4 of 5




 1          14.    Attached as Exhibit 9 is a true and correct copy of an article from Protocol entitled

 2 “Supply chain pain: Sonos can’t make enough speakers,” available at

 3 https://www.protocol.com/sonos-black-friday-sales-shortages.

 4          15.    Attached as Exhibit 10 is a true and correct copy of an article from CNBC entitled

 5 “Sonos CEO says this is the most challenging time for tech companies he’s ever seen,” available

 6 at https://www.cnbc.com/2021/09/28/sonos-ceo-says-this-is-the-most-challenging-time-for-tech-

 7 companies-hes-ever-seen.html.

 8          16.    Attached as Exhibit 11 is a true and correct copy of an article from the Wall Street

 9 Journal entitled “Sonos Works to Grow Malaysia Operation Despite Supply-Chain Issues,”

10 available at https://www.wsj.com/articles/sonos-works-to-grow-malaysia-operation-despite-

11 supply-chain-issues-11622214252.

12          17.    Attached as Exhibit 12 is a true and correct copy of an article from The Verge

13 entitled “Sonos quietly raises Beam and Sub prices by $50,” available at

14 https://www.theverge.com/2023/2/21/23609416/sonos-beam-gen-2-sub-price-increase.

15          18.    Attached as Exhibit 13 is a true and correct copy of an article from The Verge

16 entitled “Sonos raises prices for majority of products amid supply chain crunch,” available at

17 https://www.theverge.com/2021/9/10/22667044/sonos-speaker-price-increases-announce-

18 september-12.

19          I declare under penalty of perjury that to the best of my knowledge the foregoing is true and

20 correct. Executed on June 29, 2023, in San Francisco, California.

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22                                               By: /s/ Jocelyn Ma
23                                                   Jocelyn Ma

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                                                                     DECLARATION OF JOCELYN MA
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 1                                          ATTESTATION

 2         I, Sean Pak, am the ECF user whose ID and password are being used to file the above

 3 Declaration. In compliance with Civil L.R. 5-1, I hereby attest that Jocelyn Ma has concurred in the

 4 aforementioned filing.

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 6 DATED: June 29, 2023

 7                                                        /s/ Sean Pak
                                                          Sean Pak
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                                                                     DECLARATION OF JOCELYN MA
